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“AO 442 (Rev. 11/11) Arrest Warrant

eS ee aaa

 

Case: 1:21-mj-00680

United States of America

ed to: Judge Meriweather, Robin M.

Date: 12/6/2021

JEFFREY WILLIAM HUBBARD

} Indictment

W/ ARREST WARRANT

 

 

without unnecessary delay

IAM HUBBARD

JEFFREY WILL
led with the court:

e or violation based on the following document fi
J Complaint

“] Order of the Court

Cl Superseding Information

“I Violation Notice

l Superseding Indictment O Information

C1 Supervised Release Violation Petition

Probation Violation Petition

UIT

described as follows:

This offense is briefly

18 U.S.C. § 1752(a)(1)- Entering and Remaini
18 U.S.C. § 1752(a)(2)- Disorderly and Dis
40 U.S.C. § 5104(e)(2)(D)- Dis
40 U.S.C. § 5 104(e)(2)(G)- Para

a Restricted Building or Grounds;

ng in
cted Building or Grounds;

tive Conduct in a Restri

duct in a Capitol Building;
g, or Picketing in a Capitol Building.

rup
orderly Con
ding. Demonstratin

 

 

 

Washington, D.C.

Return

ed on (date) 216 [24

 

 

This warrant was recelv

at (city and state)

Vic

F Lin CuvU

 

 

Date: \2/3/ Z| sae

 

L CHARLES GRAVLP

Printed name and title

—? ————— yA
Dd

 
